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Pro Se [Select one: Plaintiff or Defendant]
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
[Select one location: San Francisco / Oakland / San Jose / Eureka]

Dawid Wallace CV y 25- 4433

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Fed Court 2025-05 ADA & Fair Housing Claims.pages

Fair Housing Act (FHA) — 42 U.S.C. § 3601 et seq.

Protects individuals from discrimination in housing based on race, sex, disability,
religion, familial status, and national origin. It applies to rental housing, home
sales, and mortgage lending.

Americans with Disabilities Act (ADA) — 42 U.S.C. § 12101 et seq.

Ensures accessibility and prohibits discrimination against individuals with
disabilities in various settings, including housing provided by state and local
governments.

Civil Rights Act of 1866 — 42 U.S.C. § 1982

Grants all U.S. citizens the same property rights, specifically ensuring that race
cannot be a factor in buying, selling, or leasing real estate.

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JSC 2025-05-23 make sure | never get 1 Bdrm | won 7 years ago

John Stewart Co VP J. Wood,

| know how much my ss income is, what | need to Know is can any of my IRA's or investments
that pay income & or dividends be counted as income? If so, how much was that calculation for
investment income before April 15th & after / now?

This is a simple question & | will make it easier just give my an approximation plus or minus 5%
or $1,000.00 your choice. If RG has been working on my Feb. 7th 2025 application in good
faith you will already have this answer but it is being withheld from me, why? What is the $ or
% amount?I'm dead in the water until | get cooperation.| need to know this in time to appeal if |
disagree NOW, BEFORE it's too late for RG & the JSC to render a decision on my possible
appeal before my application times out on June 6th 2025. S.F. is square feet.

I'm sure your accounting department has records of when people move out & or are terminated
from 1 Bdrm units at RG How many times were there 1Bdrm

vacancies in 2024?How many ! Bdrm move outs notices do you expect at RG before
November 2025?Am | next on the list for a 1 Bdrm at RG? | was told | was since last January
2025, but RG tenants have told me many 1 Bdrm units have been filled after | applied for the
3rd time on Feb. 7th 2025.How many 1 Bdrm units are there at RG?

How many if any are restricted to handicapped or ADA only units?What are the eligibility rules
for restricted handicapped or ADA only units?I'm still waiting for your public & required HUD
"Tenant Selection Plan", If you have one why haven't | received it?l was sent a 26 page Nevada
Draft version of a HUD "Tenant Selection Plan" labeled Revised 2024-03-21 HOTMA GROUP
DRAFT NV.Who is in the HOTMA Group? Where are they?Did they work for RG or JSC?Why
didn't they finish the Draft & make it public?RG has deliberately delayed the processing of my
application in multiply ways by:

1. Refusing to honor my ADA need for extra time & assistance by not letting me take the
application home with me in January 2025ahead of the unjustified but required self imposed
RG policy of sit in a room with tables & chairs for 20 people where getting individual help would
hinder my completion process forcing me to compete with all the other people in the room.
This is exactly what happened, | was the last to

finish, | asked Manager Kennetha N. to review my questions & completeness, she did &
accepted it. A few days later

Kennetha N. notified me that my signatures were missing & | had to wait till next week to come
back & make other corrections on about 8 pages.

2. Now my prioritized application is wrongfully at the bottom of the stack.

3. | was not allowed to see One of the remaining 1 Bdrm units because it was promised to a
woman = sex discrimination & to a non white person = race discrimination.

4. Deliberately loosing documents, delaying providing me with a checklist, then waiting until |
wet to Texas to mail the check list.

5. Lying to me about my appointment being a day later.6. Always pretending to not have an
appointment until a week later, then making it 2 weeks later, then telling me it was for a week
earlier!

7. Ignoring my emails since April 15th 2025.Etc.Someone is bending over backwards to try to
keep me from getting a 1 Bdrm unit that meets my ADA requirements due to lack of
supervision, rumors, gossip, favoritism & or incompetence.

| already gave you RG / JSC notice that you will always be able to process other applicants
faster than mine! Does that mean you are relaying on a outdated HOTMA Draft to make sure all
the 1 Bdrm's are allocated (one by a promise to an incomplete applicant , my request for the
same set aside before hers was denied) before you bother to finalize my application, due to
someone's dislike of me, gross mismanagement & incompetence?Are trying to us a outdated
HOTMA Draft that JSC could not find for about 10 days as a catch 22 to make sure | will never
get the 1 Bdrm unit | won in the lottery 7 years ago?

Why? S/ David Wallace Lf hi
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